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FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. §1983
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

COMPLAINT

(Var COON

(Last Name) (Identification Number)

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(Fi irst Name) _(Middle Name)
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frareiton) 1D
zal Ki. Tinker & Kena aly, Whe.
(Address)

(Enter above the full name of the plaintiff, prisoner and address

of plaintiff in this action) 3
V. CIVIL ACTION NUMBER: ~~ 5 cv bb -- PTE

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cf. otf Bryan f Pai lev
LL JAIN 2S Rothd | (admin)

‘(Enter the full name of the defendant(s) in this action)

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GENERAL INFORMATION
A. At the time of the incident complained of in this complaint, were you incarcerated?
Yes ( X) No( )
B. Are you presently incarcerated?
Yes( X) No( )
G. At the time of the incident complained of in this complaint, were you incarcerated because

you had been convicted of a crime?

Yes( ) No( X)

D. Are you presently incarcerated for a parole or probation violation?

Yes( ) No ( X)

E. At the time of the incident complained of in this complaint, were you an inmate of the
Mississippi Department of Corrections (MDOC)?
Yes( ) No (X)

F. Are you currently an inmate of the Mississippi Department of Corrections (MDOC)?

Yes( ) No(X)

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PARTIES

(In item I below, place your name and prisoner number in the first blank and place your present
address in the second blank.)

I. Name of plaintiff: L hl te r Dew [7 OL COON Prisoner Number: k C5 mL 150! 11333
Address: Raw Kin ( Sil ha) Timber Sf Srandon, Wis. 39042

(In item II below, place the full name of the defendant in the first blank, his official position in the
second blank, and his place of employment in the third blank. Use the space below item II for the
names, Posto d pa of employment of N Bas itional defendants.)

acca Bo
I. Defendant: bt nines ud Heal Hen Lisib tle e Pireritt Clonk, Sherif

The plaintiff is responsible for providing his/her address and in the event of a change of address, the
new address of plaintiff as well as the name(s) and address(es) of each defendant(s). Therefore, the
plaintiff is required to complete the portion below:

PLAINTIFF:

AL hy

NAME;
i dal fer Dov Narcoon Nir ml. zr St Brandy, Ms. 39042

DEFENDANT(S):

Rau Ki (s. Creat Corts Sai | aT WN. Timber st Bran ot Mis. 39042
Rebecca Boyd Creat Chork RO- Rox £0 Brandon, Ws. 39043
Shon€€ Bryay Railey 2a) Mo riinker SY Rranidas.the. 34042
+. Vannes Pond 221M. Tinker $4. Krandon jc. 39042

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OTHER LAWSUITS FILED BY PLAINTIFF

NOTICE AND WARNING
The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

A. Have you ever filed any lawsuits in a court of the United States? Yes WY ) No( )

B. If your answer to A is yes, complete the following information for each and every civil action
and appeal filed by you. (If there is more than one action, complete the following
information for the additional actions on the reverse of this page or additional sheets of

paper.)
CASE NUMBER 1. .
1. Parties to the action: ( Jalter Dow Na noow VS.

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OCreenvil |e Cu Sail Greonvilh dis.
2. Court (if federal court, name the district; if state court, name the county):

Cled iM Federal [owrt Greenvil le Mississippi

3. DocketNumber: / i

4, Name of judge to whom case was assigned: Davia! 5. Ord: ans b 1

5. Disposition (for example: was the case dismissed? If so, what grpunds? Was it
appealed? Is it still pending?) <r dtospsd the lawsert when xX

pro ved out ot the Area for Feasans ot. COMivieNaNMes.

CASE NUMBER 2.
1. Parties to the action:
2. Court (if federal court, name the district; if state court, name the county):

3. Docket Number:

4. Name of judge to whom case was assigned:

5. Disposition (for example: was the case dismissed? If so, what grounds? Was it
appealed? Is it still pending?)

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STATEMENT OF CLAIM
TH. State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Also, include the names of other persons involved, dates and places. Do not give

any legal arguments or cite any cases or statutes. If you intend to allege a number of different
claims, number and set forth each claim in a separate paragraph. (Use as much space as you

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RELIEF 50k 2ver

IV. State what relief you seek from the court. Make no legal arguments. Cite no cases or

statutes.
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* BP etry this 3°. ‘3d day of br 2015 (2¢ 15) . Felamiges.

I declare (or certify, verify or state) under penalty of perjury that the foregoing is true

and correct.

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Signature of plaintiff

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